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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR08-177-RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   RICHARD A. JANSEN,                   )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Cocaine and Marijuana

15 Date of Detention Hearing:      June 11, 2008

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has been charged with a drug offense the maximum penalty of which

22 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 dangerousness and flight risk, under 18 U.S.C. §3142(e).

02          2.     Defendant is a Canadian citizen. He is a co-owner of Scorpion Transport Services

03 Ltd. The Indictment charges that defendant worked with the conspiracy to provide a legitimate

04 cover for the transport of marijuana across the international border. The defendant was arrested

05 on June 5 while he was allegedly observed transporting approximately 349 pounds of marijuana

06 to a warehouse in Bellingham, as well as $50,000 in Canadian currency which the government

07 alleges was meant to be paid as a bribe to a border inspector. The government alleges that

08 defendant is part of a sophisticated international drug trafficking organization and that

09 approximately 7300 gross pounds of marijuana with a street value of $18 million and

10 approximately 1300 gross pounds of cocaine with a street value of $12 million have been seized

11 from drug trafficking operations conducted by the organization. The government alleges a long-

12 standing relationship between this defendant and the leaders of the organization.

13          3.     Although defendant has strong ties to the British Columbia community in which

14 he lives, he has no ties to this District. His employment is as co-owner of the transport company

15 alleged to be involved in the drug conspiracy.

16          4.     Taken as a whole, the record does not effectively rebut the presumption that no

17 condition or combination of conditions will reasonably assure the appearance of the defendant as

18 required and the safety of the community.

19 It is therefore ORDERED:

20          (1)    Defendant shall be detained pending trial and committed to the custody of the

21                 Attorney General for confinement in a correction facility separate, to the extent

22                 practicable, from persons awaiting or serving sentences or being held in custody

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01               pending appeal;

02         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

03               counsel;

04         (3)   On order of a court of the United States or on request of an attorney for the

05               Government, the person in charge of the corrections facility in which defendant is

06               confined shall deliver the defendant to a United States Marshal for the purpose of

07               an appearance in connection with a court proceeding; and

08         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

09               counsel for the defendant, to the United States Marshal, and to the United States

10               Pretrial Services Officer.

11         DATED this 11th day of June, 2008.



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13                                              Mary Alice Theiler
                                                United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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